   Case: 1:20-cr-00548 Document #: 1 Filed: 08/26/20 Page 1 of 4 PageID #:1                       jt"-
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                        UNITED STATES DISTRICT COURT
                                                                                 THOMAS G BRUTON
                        NORTHERN DISTRICT OF ILLINOIS                        cuerix, U.s. PtsrRlcr couRT
                             EASTERN DIVISION

 UNITED STATES OF AMERICA

               v.
                                               No.
                                                         20cm                        54,9
                                               Violation: Title   18,   United States Code,
 PEDRO SOTO                                    Section 1001(aX2)
                                                                           IUDCE"mlffAlf
                                                                  MAGISTRATE JUDGT
       The UNITED STATES ATTORNEY charges:                                         COI.E

       1.     At times material to this information:

              a.     The Chicago Public Schools ("CPS") was an independent school

district and unit of local government governed by the Board of Education of the City of

Chicago ("CBOE").

              b.     In or around April   2016, CPS soiicited proposals from companies

willing to enter into a contract with CPS to provide custodial services, engineering

operations, and other trade services within Chicago public schools (hereinafter referred

to as the "custodiai services contract"). Owing to the size, duration, and possible
extensions of the custodial services contract, the company or companies awarded the

custodial services contract were projected       to    receive total payments exceeding

approximately $1 billion under the contract.

              c.     An evaluation   committee (the "Evaluation Committee"), which

included representatives from various departments within CPS, was tasked to review all

proposals and to recommend to CBOE which company or companies should win the

custodial services contract.
   Case: 1:20-cr-00548 Document #: 1 Filed: 08/26/20 Page 2 of 4 PageID #:2




                d.     Defendant PEDRO SOTO was a CPS employee and a member of the

Evaluation Committee.

                e.     On or about July 8, 2016, Company A submitted a proposal to CPS

seeking to be awarded the custodial services contract.

                f.     Individual A was a registered lobbyist retained by Company A to

help   it obtain the custodial services contract.

                g.     Individual B worked with Individual A to help Company A obtain

the custodial services contract.

         2.     Prior to on or about December 17, 2079, the Federal Bureau of
Investigation had initiated an investigation of Individual A, Individual B, and SOTO

concerning potential violations of federal criminallaw.

         3.     The following matters, among others, were material to the investigation:

                i.     The scope and nature of Individual B's interactions and contacts with

SOTO concerning the custodial services contract, including but not limited to what non-

public information SOTO had provided to Individual B concerning deliberations within

CPS relating to the award of the custodial services contract and the merits of Company

A's and other companies' proposals;

                ii.    Whether SOTO had provided non-public information to Individual B

concerning the award ofthe custodial services contract;

                iii.   Why SOTO had provided non-public information to Individual B

concerning the award ofthe custodial services contract; and
   Case: 1:20-cr-00548 Document #: 1 Filed: 08/26/20 Page 3 of 4 PageID #:3




               iv.   What benefits SOTO solicited, was offered, promised or had received

foom Individual B during and around the time SOTO was a member of the Evaluation

Committee, and the reasons for SOTO's receipt of those benefits from Individual B.

       4.      On or about December 17,2019, at Chicago, in the Northern District of

Il1inois, Eastern Division,

                                     PEDRO SOTO,

defendant herein, did knowingly and willfully make a materially false, fictitious, and

fraudulent statement and representation in a matter within the jurisdiction of the

Federal Bureau of Investigation, an agency within the executive branch of the

government of the United States, when he stated the following:

             i.      When asked whether he ever had communications with Individual B

on the phone about what was going on inside CPS about the custodial services contract,

SOTO said, "He would want to get information but    I don't think I gave him anything.";

            ii.      When asked how Individual        B   would "dig" for information

concerning the custodial services contract, SOTO said he would "just listen" to Individuai

B, but was never persuaded to do anything;

            iii.     When asked whether he had told Individual B what was going on

inside CPS with the bidding on the custodial services contract, SOTO said, "I don't think

that I have, no. I would-I don't think so."; and
  Case: 1:20-cr-00548 Document #: 1 Filed: 08/26/20 Page 4 of 4 PageID #:4




           iv.         When asked whether there was ever a time that SOTO called

Individual B and told Individual B that he had information for him, SOTO said he did not

think that happened;

      In violation of Title 18, United States Code, Section 1001(a)(2).




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                                                                            - bv AMARJEET
                                         AMARJEET BHACHU        sHAcHiJ
                                                                Date: 2020.08.24 1 6:1 0:1 6 -05'00'


                                         Signed by Amarjeet S. Bhachu on behalf of the
                                         UNITED STATES ATTORNEY
